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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA,              :

                    Plaintiff,         :

v.                                     :         3:06-CR-272 (AHN)

MIGUEL NEGRON,                         :

                    Defendant.         :


 RULING ON MOTION FOR IN CAMERA REVIEW OF GRAND JURY TRANSCRIPTS

     Defendant Miguel Negron (“Negron”) is named in a five-count

indictment charging him with one count of conspiracy to possess

with intent to distribute and to distribute 1,000 grams or more

of a mixture or substance containing a detectable amount of

heroin, in violation of Title 21, United States Code Sections

841(a)(1), 841(b)(1)(A), and 846.          Negron now moves this court

for an in camera review of the Grand Jury transcripts [doc. #

335].       Negron argues that the government failed to produce any

evidence to the grand jury that pertained to him.1               Negron’s

motion is without merit.

     The court has found no case to support Negron’s argument

that a review of Grand Jury transcripts are within this court’s

purview.       As such, the court construes the motion as one seeking

to dismiss the indictment for insufficient evidence.               On this

issue, the Supreme Court has stated that “‘[i]t would run counter


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      The court must assume that this motion precedes a motion to
dismiss the indictment, or that Negron expects the court to
dismiss the indictment sua sponte.
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to the whole history of the grand jury institution’ to permit an

indictment to be challenged ‘on the ground that there was

inadequate or incompetent evidence before the grand jury.’”

United States v. Williams, 504 U.S. 36, 54 (1992) (quoting

Costello v. United States, 350 U.S. 359, 363-364 (1956)).              The

Second Circuit has followed this precedent.          See United States v.

Alfonso, 143 F.3d 772, 776-77 (2d Cir. 1998) (holding that the

district court cannot "look[] beyond the face of the indictment

and dr[a]w inferences as to the proof that would be introduced by

the government at trial"); United States v. Gambino, 809 F. Supp.

1061, 1079 (S.D.N.Y. 1992), aff'd, 17 F.3d 572 (2d Cir. 1994)

("It is axiomatic that, in a criminal case, a defendant may not

challenge a facially valid indictment prior to trial for

insufficient evidence.       Instead, a defendant must await . . . the

jury's verdict before he may argue evidentiary sufficiency.").

Negron has failed to put forth any arguments that would sway this

court from following well-established Supreme Court and Second

Circuit precedent.   Accordingly, the court declines to review the

Grand Jury transcripts that form the basis for Negron’s

indictment.

                                CONCLUSION

     For the foregoing reasons, Negron’s motion for an in camera

review of the Grand Jury transcripts [doc. # 335] is DENIED.




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     SO ORDERED this _2nd_ day of October 2007, at Bridgeport,

Connecticut.

                                       __________/s/____________
                                       Alan H. Nevas
                                       United States District Judge




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